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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 JP MORGAN CHASE BANK, NATIONAL )
 ASSOCIATION                           )
                       Plaintiff,      )
                                       )                          Case No. 1:19-cv-05770
              v.                       )
                                      )
 ROBERT KOWALSKI, AKA ROBERT M. )
 KOWALSKI; CHICAGO TITLE LAND )
 TRUST COMPANY S/I/I TO BRIDGEVIEW )
 BANK GROUP FKA BRIDGEVIEW BANK )
 AND TRUST COMPANY, AS TRUSTEE )
 UNDER TRUST AGREEMENT DATED )
 APRIL 24, 1993 AND KNOWN AS TRUST )
 NUMBER 1-2228; FDEDERAL DEPOSIT )
 INSURANCE        CORPORATION,      AS )
 RECEIVER FOR WASHINGTON FEDERAL )
 BANK     FOR    SAVINGS;     UNKNOWN )
 OWNERS AND NON-RECORD CLAIMANTS )
                                       )
                       Defendants.     )


                                   NOTICE OF REMOVAL

         Respondent, the FEDERAL DEPOSIT INSURANCE CORPORATION, AS RECEIVER

FOR WASHINGTON FEDERAL BANK FOR SAVINGS (“FDIC-R”), by and through its

attorneys, Carlson Dash, LLC, and pursuant to 12 U.S.C. § 1819(b)(2)(B) and 28 U.S.C. §

1441(c)(1)(A), hereby gives this Notice of Removal of this cause to the United States District

Court for the Northern District of Illinois, Eastern Division, from the Circuit Court of Cook

County, Illinois. The FDIC-R further states:

    1.      This case concerns the real estate commonly known as 1512 Polk Street, aka 1512 West

            Polk Street, Chicago, IL 60607 (the “Real Estate”).

    2.      The Plaintiff, JP Morgan Chase Bank, National Association (“Chase”) filed a

            Complaint to Foreclose Mortgage in the Circuit Court of Cook County, Illinois on May



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        3, 2019 (the “Foreclosure Complaint”). A copy of the Foreclosure Complaint is

        attached hereto as Exhibit A.

3.      The Complaint alleges that Chase is the holder of a mortgage encumbering the real

        estate. Ex. A at ¶ 4(N).

4.      Through the proceedings instituted by the Complaint, Chase is seeking to terminate the

        lien on the Real Estate that is held by the FDIC-R as described below. Id. at ¶ 4(L).

5.      On Friday, December 15, 2017, Washington Federal Bank for Savings (“Washington

        Federal”) was closed by the Office of the Comptroller of the Currency, and the FDIC

        was appointed Receiver. Attached hereto as Exhibit B is a true and correct copy of the

        Office of the Comptroller of the Currency’s Receivership Determination and

        Appointment of Receiver.

6.      On August 10, 1999, Washington Federal loaned $400,000.00 to Bridgeview Bank and

        Trust Company, as Trustee Under Trust Agreement Dated April 24, 1993 and known

        as Trust Number 1-2228 (“Borrower”), which was evidenced by a Promissory Note

        (the “Note”). Attached hereto as Exhibit C is a true and correct copy of the Note.

7.      The Note was secured by a mortgage to Washington Federal dated August 10, 1999,

        which was recorded with the Cook County Recorder of Deeds on August 20, 1999 as

        Document No. 99797136 (the “Mortgage”). Attached hereto as Exhibit D is a true and

        correct copy of the Mortgage.

8.      Upon appointment as receiver of Washington Federal, the FDIC-R, by operation of

        law, is the successor of all rights, titles, powers, and privileges of the assets of

        Washington Federal. See 12 U.S.C. § 1821(d)(2)(A)(i). Therefore, the FDIC-R is the




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        holder of promissory notes and mortgages on the Real Estate. See 12 U.S.C. §

        1821(d)(2)(B).

9.      The Circuit Court of Cook County entered an order in the underlying case on August

        19, 2019 providing that the FDIC-R is substituted in as a party to the underlying case.

        A copy of this order is attached as Exhibit E.

10.     FDIC-R filed its appearance as a respondent in the underlying case on August 22, 2019.

        A copy of the FDIC-R’s appearance in the state court matter is attached hereto as

        Exhibit F.

11.     Congress has given the Federal Deposit Insurance Corporation (“FDIC”) broad power

        to remove cases from state court. See 12 U.S.C. § 1819(b)(2)(A) (providing that all

        actions in which the FDIC is a party are “deemed to arise under the laws of the United

        States”). Specifically, 12 U.S.C. § 1819(b)(2)(A) provides that the FDIC “may,

        without bond or security, remove any action, suit or proceeding from the State Court

        to the appropriate United States District Court before the end of the 90-day period

        beginning on the date the action, suit or proceeding is filed against the [FDIC] or the

        [FDIC] is substituted as party.”

12.     This Notice of Removal is made and filed within 90 days from the date the FDIC-R

        was substituted as a party in this action, therefore removal to the United States District

        Court for the Northern District of Illinois is proper.

13.     The FDIC-R will promptly serve notice of the filing of this Notice of Removal pleading

        to all parties of record in this action and to the Circuit Court of Cook County, Illinois,

        pursuant to 28 U.S.C. § 1446(d).




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14.   The FDIC-R reserves the right to supplement this Notice of Removal when additional

      information becomes available. The filing of this Notice is subject to, and without any

      waiver of, any and all applicable defenses or objections.




  Dated: August 27 , 2019


                                               Respectfully submitted,

                                               FEDERAL DEPOSIT INSURANCE
                                               CORPORATION, AS RECEIVER FOR
                                               WASHINGTON FEDERAL BANK FOR
                                               SAVINGS,


                                                By:   /s/James M. Dash
                                                      One of Its Attorneys


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